Case 2:05-cv-02371-.]DB-dkv Document 10 Filed 06/30/05 Page 1 of 3 Page|D 3

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IN THE UNITEI) sTATEs DISTRICT COURT
FOR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN 30 PH 3= 57

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CONSOLIDATED CoNTAiNER ) U.&K U.S, DJSTHCT mm
COMPANY LP, ) WD OF tit swiss
)
Plaintiff, ) clviL AcrroN
) No. 05-237§ BV
vs. )
)
WARREN UNILUBE, INC., )
)
Defendant. )

ORDER OF SPECIAL ADMISSION
lt appears to the Court that the motion for CHRlST]NE F. MAYHEW, Esq., for
Special Admission Pro Hac Vice is Weli taken and should be granted Accordingly, the
Motion is hereby GRANTED, and CHRlSTINE F. MAYHEW, Esq. is admitted pro hac
vice for the purpose of representing the Defendant, Warren Unilube, lnc. in this action.

IT IS SO ORDERED.

DATED: (g{?ol of

  

 

Uni d statesit)ismct Judge\

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Honorable J. Breen
US DISTRICT COURT

